                        UNITED STATES BANKRUPTCY COURT

                             EASTERN DISTRICT OF MICHIGAN



In the Matter of:                                   Case No. 07 20S19-dob

ARNOLD C HEATH, JR. 'lid
ANGELA SUE HEATH, Debtors




                                NOTICE OF WITHDRAWAL


        NOW COMES JOHN A. CARRAS, Attorney for above named Debtors, and hereby
enters a Notice of Withdrawal concerning Document #16 that was inadvertently filed on March
19,2007" 1042 a.m.


Dated: March 19,2007
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                                                                   ,/
                                                              ,/



                                               JOHNA. CARRAS (P57577)
                                               CARRAS LAW OFFICE. P.LLC
                                               1605 Ashman Street
                                               Midland, Michigan 48640-5451
                                               (989) 631-7320




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